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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 NOAH BERGER,
                                                              Docket No. 7:18-cv-08956 (CS)
                                 Plaintiff,

        - against -                                           GOOD FAITH DECLARATION
                                                              OF RICHARD LIEBOWITZ

 IMAGINA CONSULTING, INC.

                                 Defendant.




       I, RICHARD LIEBOWITZ, hereby swear under the penalty of perjury that the following

is true and correct to the best of my personal knowledge:

       1.      I am lead counsel for plaintiff Noah Berger (“Plaintiff”) and am duly admitted to

practice law in this District and in the State of New York.

       2.      I submit this good faith declaration in response to the Court’s order to show

cause. [Dkt. #47]

       3.      Having previously shown good cause for why I could not appear at the

Conference [Dkt. #s 32, 36, 46], it is my good faith belief that I have discharged my obligations

in response to the Court’s order to show cause.


Dated: May 16, 2019
Valley Stream, New York

                                                     Respectfully Submitted:

                                                     /richardliebowitz/
                                                     By: Richard Liebowitz
                                                     LIEBOWITZ LAW FIRM, PLLC
                                                     11 Sunrise Plaza, Ste. 305
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                                 Counsel for Plaintiff Noah Berger




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